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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
                              Plaintiff,              )
                                                      )
                         v.                           )       No. 1:20-cr-00225-SEB-TAB
                                                      )
LOGAN COUCH,                                          ) -01
                                                      )
                              Defendant.              )

                                              Order

       The defendant's motion for copies, dkt. [51], is GRANTED to the extent that the clerk

shall include a copy of the docket, the plea agreement, and judgment, and a form motion for relief

pursuant to 28 U.S.C. § 2255 with his copy of this Order. The motion is DENIED to the extent

that the defendant seeks a copy of his sentencing transcript. The sentencing transcript does not

exist at this time and will not be produced at public expense based on the defendant's mere request.

A transcript can only be provided at public expense upon a determination by the Court that the

transcript is needed to decide an issue presented in a non-frivolous proceeding pursuant to 28

U.S.C. § 2255, or in some other non-frivolous proceeding that presents a substantial question. See

28 U.S.C. § 753(f). These circumstances are not present at this time. If the defendant wishes to

contact the Court Reporter and arrange for the payment of the transcript, he may do so. The Court

Reporter can be contacted at:

       Laura Howie-Walters
       United States District Court
       46 East Ohio Street, Room 217
       Indianapolis, IN 46204
       317-632-3422.
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       IT IS SO ORDERED.



       Date: ______________
               7/20/2022                     _______________________________
                                              SARAH EVANS BARKER, JUDGE
                                              United States District Court
                                              Southern District of Indiana




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